Case 4:21-cv-11790-MFL-APP ECF No. 1, PagelD.1 Filed 08/04/21 Page 1 of 24

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

WAYNE STATE UNIVERSITY
Petitioner,
¥i

U.S. DEPARTMENT OF HOMELAND SECURITY (DHS);

U.S. CITIZENSHIP AND IMMIGRATION SERVICES (USCIS);

ALEJANDRO MAYORKAS, Secretary of United States Department of Homeland
Security (DHS), in his official capacity; and

UR MENDOZA JADDOU, Director of USCIS, in her official capacity; and
TRACY RENAUD, Acting Deputy Director, USCIS, in her official capacity.

Respondents.

BIRACH LAW, PC

By: Robert M. Birach, Esq (P29051)
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PETITION FOR WRIT OF MANDAMUS
Case 4:21-cv-11790-MFL-APP ECF No. 1, PagelD.2 Filed 08/04/21 Page 2 of 24

INTRODUCTION

Plaintiff states:

I, Plaintiff, Wayne State University, brings forth this action to compel
Defendants to adjudicate its properly filed I-129 Petition for Nonimmigrant

Worker on behalf of Gerardo Estanislao Rodriguez-Sandoval.

2. Plaintiff requests immediate adjudication of its petition as Defendants have

improperly withheld action on this petition to Plaintiff's detriment.

3. No petition for a writ of mandamus has been previously filed by Plaintiff to

review the actions described herein.

PARTIES
4. Plaintiff, Wayne State University is a public research university Detroit,

Michigan.
3. The Defendants are:
i. U.S. Department of Homeland Security (DHS);
ii. U.S. Citizenship and Immigration Services (USCIS);

ii. Alejandro Mayorkas, Secretary of United States Department of

Homeland Security (DHS), in his official capacity;
Case 4:21-cv-11790-MFL-APP ECF No. 1, PagelD.3 Filed 08/04/21 Page 3 of 24

iv. Ur Mendoza Jaddou, Director of U.S. Citizenship & Immigration Service

(USCIS), in her official capacity; and
v. Tracy Renaud, Acting Deputy Director, USCIS, in her official capacity.

JURISDICTION AND VENUE
6. This Court has personal jurisdiction over all Respondents, as they can be

reached by service of process.
hs Subject matter jurisdiction is conferred on this Court by:

i. 28 U.S.C. § 1331 (Federal Question Jurisdiction): The district courts
shall have original jurisdiction of all civil actions arising under the

Constitution, laws, or treaties of the United States;

ii. 28 U.S.C. § 1361 (Mandamus Statute): The district courts shall have
original jurisdiction of any action in the nature of mandamus to compel
an officer or employee of the United States or any agency to perform a

duty owed to the Petitioner;

i. 5 U.S.C. S 706, et seg. (Administrative Procedures Act): The reviewing
court shall compel agency action unlawfully withheld or unreasonably

delayed.
Case 4:21-cv-11790-MFL-APP ECF No. 1, PagelD.4 Filed 08/04/21 Page 4 of 24

iv. 8 U.S.C. § 555(b): “[w]ith due regard for the convenience and necessity
of the parties or their representatives and within a reasonable time, each

agency shall proceed to conclude a matter presented to it.”

8. Venue in the Eastern District of Michigan is proper under 28 U.S.C. §
1391(e) and 28 U.S.C. § 2891(e) because Plaintiffs action is against officers and
agencies of the United States in their official capacities brought in a district where

Plaintiff resides, and all the defendants can be reached by service of process.

STANDING

2. Plaintiff has constitutional standing under Lujan v. Defenders of Wildlife,
504 U.S. 555, 559 (1992), as one who has suffered a concrete injury due to
Defendants’ action (or failure to act), which injury will be redressed by a favorable
decision in this case. Lujan v. Defenders of Wildlife, 504 U.S. 560-61 (1992).
Plaintiff has been injured by the ongoing failure of Defendants to timely adjudicate
its properly filed I-129 Petition for Nonimmigrant Worker on behalf of Gerardo

Estanislao Rodriguez-Sandoval

EXHAUSTION OF REMEDIES

10. Plaintiff has exhausted all the administrative remedies available to him at

this point.
Case 4:21-cv-11790-MFL-APP ECF No. 1, PagelD.5 Filed 08/04/21 Page 5 of 24

11. USCIS has failed to perform its mandate in a timely manner, as described in

this lawsuit.

12. Petitioner has no adequate remedies available to him other than resorting to

this complaint and the remedies requested herein.

FACTUAL AND PROCEDURAL HISTORY

13. Petitioner, Wayne State University is a public research university Detroit,

Michigan.

14. On December 21, 2020, Petitioner properly filed an extension of H-1B1
status through an I-129 Petition for Nonimmigrant Worker on behalf of Gerardo

Estanislao Rodriguez-Sandoval. (TAB A: See Receipt Number: EAC2108951079)

15. Mr. Rodriguez-Sandoval’s employment authorization is automatically
extended 240 days while the petition remains pending and will expire on August
28, 2021 (TAB B) and his continued employment is critical to an ongoing
international research project being conducted jointly by the United states and

Chile, funded by the National Institute of Health

16. Petitioner has verified the processing times for adjudicating an I-129 Petition
for Nonimmigrant Worker — Extension of Stay in the U.S. as 2-4 months. (TAB C:

See USCIS Processing Times for H-1B1)
Case 4:21-cv-11790-MFL-APP ECF No. 1, PagelD.6 Filed 08/04/21 Page 6 of 24

17. Petitioner has verified that as of August 4, 2021, Respondents have failed to
adjudicate the I-129 Petition for Nonimmigrant Worker on behalf of Gerardo

Estanislao Rodriguez-Sandoval (TAB D: Case Status Inquiry)

18. Petitioner’s I-129 extension of status for Mr. Rodriguez-Sandoval is of
critical need as he develops and maintains the information repository of the
Perinatology Research Branch (PRB) and is responsible for development of a
database interface between the United states and Chile. The PRB is the only
Clinical Branch in the Division of Intramural Research (DIR) of the National
Institutes of Health (NIH) to focus its research on human pregnancy and unborn
children. It is currently housed at the Detroit Medical Center in Detroit, Michigan
through a service contract. The Branch has thrived in this environment, earning a
national and international reputation for its pioneering work and scientific
achievements. (TAB E: Webpage of The Perinatology Research Branch —

NICHDNIH)

19. Considering USCIS’ own processing times of an I-129 Petition for
Nonimmigrant Worker — Extension of Stay in the U.S. as 2-4 months. Petitioner’s
petition is four months outside of normal processing time. Without an approved

extension or critical work would be severely hindered.

APPLICABLE LAW, STATUTORY AND REGULATORY SCHEME
Case 4:21-cv-11790-MFL-APP ECF No. 1, PagelD.7 Filed 08/04/21 Page 7 of 24

20. Judicial review of unreasonably-delayed agency actions is provided for
under 5 U.S.C. § 555(b) which states, in pertinent part, [w]ith due regard for the
convenience and necessity of the parties or their representatives and within a
reasonable time, each agency shall proceed to conclude a matter presented to it” as
well as 5 U.S.C. § 706(1) which provides that courts shall compel agency action

unlawfully withheld or unreasonably delayed.

21. Judicial review of unreasonably-delayed agency actions is provided for
under 5 U.S.C. § 555(e) which provides that “Prompt notice shall be given of the
denial in whole or in part of a written application, petition, or other request of an
interested person made in connection with any agency proceeding. Except in
affirming a prior denial or when the denial is self-explanatory, the notice shall be
accompanied by a brief statement of the grounds for denial,” as well as 5 U.S.C. §
706(1) which provides that courts shall compel agency action unlawfully withheld

or unreasonably delayed.

COUNT I:
MANDAMUS

22. Plaintiff realleges and incorporates by reference all the preceding facts and

allegations of this Complaint.
23. A mandamus Plaintiff must establish that:

i. Plaintiff has a clear right to the relief requested;

7
Case 4:21-cv-11790-MFL-APP ECF No. 1, PagelD.8 Filed 08/04/21 Page 8 of 24

ii. The Defendant owes a clear duty to perform the act in question, which

act is ministerial and non-discretionary;

ii. No other adequate remedy is available. See 28 U.S.C. § 1331; Barron v.
Reich, 13 F.3d 1370, 1374 (9" Cir. 1994); Johnson v. Rogers, 917
F.2d 1283, 1285 (10™ Cir. 1980); Kirkland Masonry, Inc. v.
Commissioner of Internal Revenue, 614 F.2d 532, 534 (Sth Cir. 1980);

Rios v. Ziglar, 398 F.3d 1201 (10th Cir. 2005).
24. Plaintiff has satisfied each of these prongs.

25. Plaintiff, Wayne State University, has a clear right to have the I-129 it filed
adjudicated to completion in a timely manner, in accordance with USCIS’

congressional mandate to adjudicate immigration applications and benefits.

26. Plaintiffs interests are clearly within the zone of interests protected by the

Immigration and Nationality Act and the applicable regulations.

27, The Administrative Procedures Act permits judicial review of agency action
“unlawfully withheld or unreasonably delayed.” 5 U.S.C. § 706(1). Thus, the APA
requires an agency to conclude a matter presented to it within a reasonable time. 5

U.S.C. § 555(e).
Case 4:21-cv-11790-MFL-APP ECF No. 1, PagelD.9 Filed 08/04/21 Page 9 of 24

28. The Defendants owe Plaintiff a clear, ministerial, and non-discretionary duty
to timely adjudicate its I-129 to completion in accordance with applicable laws and

to do so in a reasonable time.

29. There is no evidence that the delay is attributable to the actions of the
Plaintiff. Compare, Wang v. Reno, No. 01 Civ. 1698 (BSJ), 2001 U.S. Dist.
LEXIS 15577, at *6 (S.D.N.Y. Sept. 27, 2001) (noting that the plaintiff was
“largely responsible for the delay in her case” by submitting incorrect or

incomplete information).

30. Plaintiff has exhausted his administrative remedies. No other remedy exists

for Defendants continued and unexplainable withholding of action on his properly

filed I-129.
COUNT HU:

VIOLATION OF THE ADMINISTRATIVE PROCEDURES ACT
31. Plaintiff realleges and incorporates by reference all the preceding facts and

allegations of this Complaint.

32. Defendants are in violation of the administrative procedures act, 5 USC §
701 et seq (a) in that they have unlawfully withheld and unreasonably delayed

agency action to which the plaintiff is entitled and (b) in that they have taken
Case 4:21-cv-11790-MFL-APP ECF No. 1, PagelD.10 Filed 08/04/21 Page 10 of 24

action that is arbitrary and capricious, an abuse of discretion and not in accordance

with the law by failing to adjudicate Plaintiff's I-130 in a timely manner;
33. As stated above, Plaintiff has a clear right to the relief requested.

34. Defendants’ failure to act on Plaintiffs properly filed petition is arbitrary,
capricious, and not in according with the law, regulations, and USCIS policy, and

is SO egregious as to constitute affirmative misconduct.

35. Defendants’ have obstructed and ignored all good faith attempts to resolve

the situation in a reasonable and timely manner.

36. Plaintiff has exhausted his administrative remedies. No other remedy exists
for Defendants continued and unexplainable withholding of action on his properly

filed I-129.

WHEREFORE, Plaintiff, Wayne State University, respectfully requests that this

Honorable Court take the following actions:

A. Find that the Defendants have acted arbitrarily and
capriciously, have acted in bad faith, have failed to act in a
timely manner, and have breached their duty owed to the

Plaintiff;

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Case 4:21-cv-11790-MFL-APP ECF No. 1, PagelD.11 Filed 08/04/21 Page 11 of 24

B. Issue a Writ of Mandamus compelling immediate adjudication

and issuance of a decision on Plaintiff's I-129 Petition for

Nonimmigrant Worker — Extension of Stay in the U.S.;

C. Award Plaintiff his reasonable attorney’s fees, costs, and

expenses of litigation under the Equal Access to Justice Act,

28 U.S.C. § 2412; and

D. Grant any other and further relief that this Court deems proper

under the circumstances.

Dated: August 4, 2021

Respectfully Submitted,

/s/ Robert M. Birach

Robert M. Birach, Esq

Birach Law, PC

Attorney for Plaintiff

26211 Central Park Blvd, Suite 209
Southfield, MI 48334

(313) 964-1234

11
Case 4:21-cv-11790-MFL-APP ECF No. 1, PagelD.12 Filed 08/04/21 Page 12 of 24

LOCAL RULE CERTIFICATION:
I, Robert M. Birach, certify that the Petition for Writ of Mandamus filed on August
4, 2021 complies with Local Rule 5.1(a), including: double-spaced (except for
quoted materials and footnotes); at least one-inch margins on the top, sides, and
bottom; consecutive page numbering; and type size of all text and footnotes that is
no smaller than 10-1/2 characters per inch (for non-proportional fonts) or 14 point

(for proportional fonts). I also certify that it is the appropriate length. Local Rule

7.1(d)(3).

Respectfully Submitted,

/s/ Robert M. Birach

Robert M. Birach, Esq

Birach Law, PC

Attorney for Plaintiff

26211 Central Park Blvd, Suite 209
Southfield, MI 48334

(313) 964-1234

Dated: August 4, 2021

12
Case 4:21-cv-11790-MFL-APP ECF No. 1, PagelD.13 Filed 08/04/21 Page 13 of 24

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

WAYNE STATE UNIVERSITY
Petitioner,
W

U.S. DEPARTMENT OF HOMELAND SECURITY (DHS);

U.S. CITIZENSHIP AND IMMIGRATION SERVICES (USCIS);

ALEJANDRO MAYORKAS, Secretary of United States Department of Homeland
Security (DHS), in his official capacity; and

UR MENDOZA JADDOU, Director of USCIS, in his official capacity; and
TRACY RENAUD, Acting Deputy Director, USCIS, in her official capacity.

Respondents.

BIRACH LAW, PC

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PETITION FOR WRIT OF MANDAMUS
Case 4:21-cv-11790-MFL-APP ECF No. 1, PagelD.14 Filed 08/04/21 Page 14 of 24

INTRODUCTION

Petitioner states:

Le Petitioner, Wayne State University, brings forth this action to compel
Respondents to adjudicate its properly filed I-129 Petition for Nonimmigrant

Worker on behalf of Gerardo Estanislao Rodriguez-Sandoval.

2 Petitioner requests immediate adjudication of its petition as Respondents

have improperly withheld action on this petition to Petitioner’s detriment.

3. No petition for a writ of mandamus has been previously filed by Petitioner to

review the actions described herein.

PARTIES
4, Petitioner, Wayne State University is a public research university Detroit,

Michigan.
5. The Respondents are:
i. U.S. Department of Homeland Security (DHS);
ii. U.S. Citizenship and Immigration Services (USCIS);

ii. Alejandro Mayorkas, Secretary of United States Department of

Homeland Security (DHS), in his official capacity;
Case 4:21-cv-11790-MFL-APP ECF No. 1, PagelD.15 Filed 08/04/21 Page 15 of 24

iv. Ur Mendoza Jaddou, Director of U.S. Citizenship & Immigration Service

(USCIS), in her official capacity; and

v. Tracy Renaud, Acting Deputy Director, USCIS, in her official capacity.

JURISDICTION AND VENUE

6. This Court has personal jurisdiction over all Respondents, as they can be

reached by service of process.
7. Subject matter jurisdiction 1s conferred on this Court by:

i. 28 U.S.C. § 1331 (Federal Question Jurisdiction): The district courts
shall have original jurisdiction of all civil actions arising under the

Constitution, laws, or treaties of the United States;

ii. 28 U.S.C. § 1361 (Mandamus Statute): The district courts shall have
original jurisdiction of any action in the nature of mandamus to compel
an officer or employee of the United States or any agency to perform a

duty owed to the Petitioner;

1.5 U.S.C. S 706, et seg. (Administrative Procedures Act): The reviewing
court shall compel agency action unlawfully withheld or unreasonably

delayed.
Case 4:21-cv-11790-MFL-APP ECF No. 1, PagelD.16 Filed 08/04/21 Page 16 of 24

iv. 8 U.S.C. § 555(b): “[w]ith due regard for the convenience and necessity
of the parties or their representatives and within a reasonable time, each

agency shall proceed to conclude a matter presented to it.”

8. Venue in the Eastern District of Michigan is proper under 28 U.S.C. §
1391(e) and 28 U.S.C. § 2891(e) because Petitioner’s action is against officers and
agencies of the United States in their official capacities brought in a district where

Petitioner resides, and all the Respondents can be reached by service of process.

STANDING

9. Petitioner has constitutional standing under Lujan v. Defenders of Wildlife,
504 U.S. 555, 559 (1992), as one who has suffered a concrete injury due to
Respondents’ action (or failure to act), which injury will be redressed by a
favorable decision in this case. Lujan v. Defenders of Wildlife, 504 U.S. 560-61
(1992). Petitioner has been injured by the ongoing failure of Respondents to timely
adjudicate its properly filed I-129 Petition for Nonimmigrant Worker on behalf of

Gerardo Estanislao Rodriguez-Sandoval

EXHAUSTION OF REMEDIES

10. Petitioner has exhausted all the administrative remedies available to him at

this point.
Case 4:21-cv-11790-MFL-APP ECF No. 1, PagelD.17 Filed 08/04/21 Page 17 of 24

11. USCIS has failed to perform its mandate in a timely manner, as described in

this lawsuit.

12. Petitioner has no adequate remedies available to him other than resorting to

this complaint and the remedies requested herein.

FACTUAL AND PROCEDURAL HISTORY

13. Petitioner, Wayne State University is a public research university Detroit,

Michigan.

14. On December 21, 2020, Petitioner properly filed an extension of H-1B1
status through an I-129 Petition for Nonimmigrant Worker on behalf of Gerardo

Estanislao Rodriguez-Sandoval. (TAB A: See Receipt Number: EAC2108951079)

15. Mr. R’s Employment authorization is automatically extended 240 days while
the petition remains pending and will expire on August 28, 2021 (TAB__) and his
continued employment is critical to an ongoing international research project being
conducted jointly by the United states and Chile, funded by the National Institute

of Health

16. Petitioner has verified the processing times for adjudicating an I-129 Petition
for Nonimmigrant Worker — Extension of Stay in the U.S. as 2-4 months. (TAB B:

See USCIS Processing Times for H-1B1)
Case 4:21-cv-11790-MFL-APP ECF No. 1, PagelD.18 Filed 08/04/21 Page 18 of 24

17. Petitioner has verified that as of August 4, 2021, Respondents have failed to
adjudicate the I-129 Petition for Nonimmigrant Worker on behalf of Gerardo

Estanislao Rodriguez-Sandoval (TAB C: Case Status Inquiry)

18.  Petitioner’s I-129 extension of status for Mr. Rodriguez-Sandoval is of
critical need as he develops and maintains the information repository of the
Perinatology Research Branch (PRB) and is responsible for development of a
database interface between the United states and Chile. The PRB is the only
Clinical Branch in the Division of Intramural Research (DIR) of the National
Institutes of Health (NIH) to focus its research on human pregnancy and unborn
children. It is currently housed at the Detroit Medical Center in Detroit, Michigan
through a service contract. The Branch has thrived in this environment, earning a
national and international reputation for its pioneering work and scientific
achievements. (TAB D: Webpage of The Perinatology Research Branch —

NICHDNIH)

19. Considering USCIS’ own processing times of an I-129 Petition for
Nonimmigrant Worker — Extension of Stay in the U.S. as 2-4 months. Petitioner’s
petition is four months outside of normal processing time. Without an approved

extension or critical work would be severely hindered.

APPLICABLE LAW, STATUTORY AND REGULATORY SCHEME
Case 4:21-cv-11790-MFL-APP ECF No. 1, PagelD.19 Filed 08/04/21 Page 19 of 24

20. Judicial review of unreasonably-delayed agency actions is provided for
under 5 U.S.C. § 555(b) which states, in pertinent part, [w]ith due regard for the
convenience and necessity of the parties or their representatives and within a
reasonable time, each agency shall proceed to conclude a matter presented to it” as
well as 5 U.S.C. § 706(1) which provides that courts shall compel agency action

unlawfully withheld or unreasonably delayed.

21. Judicial review of unreasonably-delayed agency actions is provided for
under 5 U.S.C. § 555(e) which provides that “Prompt notice shall be given of the
denial in whole or in part of a written application, petition, or other request of an
interested person made in connection with any agency proceeding. Except in
affirming a prior denial or when the denial is self-explanatory, the notice shall be
accompanied by a brief statement of the grounds for denial,” as well as 5 U.S.C. §
706(1) which provides that courts shall compel agency action unlawfully withheld

or unreasonably delayed.

COUNT I:
MANDAMUS

22. Petitioner realleges and incorporates by reference all the preceding facts and

allegations of this Complaint.
23. A mandamus Petitioner must establish that:

i. Petitioner has a clear right to the relief requested;

7
Case 4:21-cv-11790-MFL-APP ECF No. 1, PagelD.20 Filed 08/04/21 Page 20 of 24

ii. The Respondent owes a clear duty to perform the act in question, which

act is ministerial and non-discretionary;

ii. No other adequate remedy is available. See 28 U.S.C. § 1331; Barron v.
Reich, 13 F.3d 1370, 1374 (9" Cir. 1994); Johnson v. Rogers, 917
F.2d 1283, 1285 (10" Cir. 1980); Kirkland Masonry, Inc. v.
Commissioner of Internal Revenue, 614 F.2d 532, 534 (Sth Cir. 1980);

Rios v. Ziglar, 398 F.3d 1201 (10th Cir. 2005).

24. Petitioner has satisfied each of these prongs.

25. Petitioner, Wayne State University, has a clear right to have the I-129 it filed
adjudicated to completion in a timely manner, in accordance with USCIS’

congressional mandate to adjudicate immigration applications and benefits.

26. Petitioner’s interests are clearly within the zone of interests protected by the

Immigration and Nationality Act and the applicable regulations.

27. The Administrative Procedures Act permits judicial review of agency action
“unlawfully withheld or unreasonably delayed.” 5 U.S.C. § 706(1). Thus, the APA

requires an agency to conclude a matter presented to it within a reasonable time. 5

U.S.C. § 5535(e).
Case 4:21-cv-11790-MFL-APP ECF No. 1, PagelD.21 Filed 08/04/21 Page 21 of 24

28. The Respondents owe Petitioner a clear, ministerial, and non-discretionary
duty to timely adjudicate its I-129 to completion in accordance with applicable

laws and to do so in a reasonable time.

29. There is no evidence that the delay is attributable to the actions of the
Petitioner. Compare, Wang v. Reno, No. 01 Civ. 1698 (BSJ), 2001 U.S. Dist.
LEXIS 15577, at *6 (S.D.N.Y. Sept. 27, 2001) (noting that the Petitioner was
“largely responsible for the delay in her case” by submitting incorrect or

incomplete information).

30, Petitioner has exhausted his administrative remedies. No other remedy exists
for Respondents continued and unexplainable withholding of action on his

properly filed I-129.
COUNT I:

VIOLATION OF THE ADMINISTRATIVE PROCEDURES ACT
31. Petitioner realleges and incorporates by reference all the preceding facts and

allegations of this Complaint.

32. Respondents are in violation of the administrative procedures act, 5 USC §
701 et seq (a) in that they have unlawfully withheld and unreasonably delayed

agency action to which the Petitioner is entitled and (b) in that they have taken
Case 4:21-cv-11790-MFL-APP ECF No. 1, PagelD.22 Filed 08/04/21 Page 22 of 24

action that is arbitrary and capricious, an abuse of discretion and not in accordance

with the law by failing to adjudicate Petitioner’s I-130 in a timely manner;
33. As stated above, Petitioner has a clear right to the relief requested.

34. Respondents’ failure to act on Petitioner’s properly filed petition is arbitrary,
capricious, and not in according with the law, regulations, and USCIS policy, and

is SO egregious as to constitute affirmative misconduct.

35. Respondents’ have obstructed and ignored all good faith attempts to resolve

the situation in a reasonable and timely manner.

36. Petitioner has exhausted his administrative remedies. No other remedy exists
for Respondents continued and unexplainable withholding of action on his

properly filed I-129.

WHEREFORE, Petitioner, Wayne State University, respectfully requests that this

Honorable Court take the following actions:

A. Find that the Respondents have acted arbitrarily and
capriciously, have acted in bad faith, have failed to act in a
timely manner, and have breached their duty owed to the

Petitioner;

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Case 4:21-cv-11790-MFL-APP ECF No. 1, PagelD.23 Filed 08/04/21 Page 23 of 24

B. Issue a Writ of Mandamus compelling immediate adjudication

and issuance of a decision on Petitioner’s I-129 Petition for

Nonimmigrant Worker — Extension of Stay in the U.S.;

C. Award Petitioner his reasonable attorney’s fees, costs, and

expenses of litigation under the Equal Access to Justice Act,

28 U.S.C. § 2412; and

D. Grant any other and further relief that this Court deems proper

under the circumstances.

Dated: August 4, 2021

Respectfully Submitted,

/s/ Robert M. Birach

Robert M. Birach, Esq

Birach Law, PC

Attorney for Petitioner

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11
Case 4:21-cv-11790-MFL-APP ECF No. 1, PagelD.24 Filed 08/04/21 Page 24 of 24

LOCAL RULE CERTIFICATION:
I, Robert M. Birach, certify that the Petition for Writ of Mandamus filed on August
4, 2021 complies with Local Rule 5.1(a), including: double-spaced (except for
quoted materials and footnotes); at least one-inch margins on the top, sides, and
bottom; consecutive page numbering; and type size of all text and footnotes that is
no smaller than 10-1/2 characters per inch (for non-proportional fonts) or 14 point

(for proportional fonts). I also certify that it is the appropriate length. Local Rule

7.1(d)(3).

Respectfully Submitted,

/s/ Robert M. Birach

Robert M. Birach, Esq

Birach Law, PC

Attorney for Petitioner

26211 Central Park Blvd, Suite 209
Southfield, MI 48334

(313) 964-1234

Dated: August 4, 2021

12
